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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA
              v.
                                                               23-Cr-490 (SHS)
 ROBERT MENENDEZ, NADINE MENENDEZ,
 WAEL HANA, JOSE URIBE, and FRED DAIBES,                       ORDER
                            Defendants.


SIDNEY H. STEIN, U.S. District Judge.
    The New York Times Company (ECF No. 145), Bergen Record (ECF No. 161), and
Inner City Press (ECF No. 125) have requested the unsealing of certain documents filed
under seal in this action. Specifically, they seek the unsealing of Senator Robert
Menendez’s Memorandum of Law in Support of His First Motion to Dismiss
(“Menendez Memorandum”) (ECF No. 120), the Declaration of Avi Weitzman in
Support of Senator Robert Menendez’s First Motion to Dismiss (“Weitzman
Declaration”) (ECF No. 121), and sealed documents that state on the public record that
they were “placed in vault” (ECF Nos. 103, 104, 107-109, 122-124).
    Last week, the Government responded (see ECF No. 152), putting forward its
position that:
    (1) The Menendez Memorandum should be placed on the public record, except for
        the names or titles of individuals who have provided information to the
        Government;
    (2) the Weitzman Declaration should be placed on the public record in full;
    (3) Exhibit A to the Weitzman Declaration should be unsealed and redacted in part;
    (4) Exhibit B to the Weitzman Declaration should be unsealed and redacted in part;
        and
    (5) the materials “placed in vault” should remain under seal.
  Mr. Menendez has stated that he takes no position on the press inquiries. (See ECF
No. 156.)
   The public’s right of access to judicial records is grounded in both the federal
common law and the First Amendment. See Bernstein v. Bernstein Litowitz Berger &
Grossmann LLP, 814 F.3d 132, 141 (2d Cir. 2016). Judicial records are those filed
documents that are “relevant to the performance of the judicial function and useful in
the judicial process.” United States v. Amodeo (“Amodeo I”), 44 F.3d 141, 145 (2d Cir.
1995). The Court assumes for the purposes of this application that the documents
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sought by the press are judicial records for both the federal common law and First
Amendment analyses.
    Under federal common law, “the weight to be given the presumption of access must
be governed by the role of the material at issue in the exercise of Article III judicial
power and the resultant value of such information to those monitoring the federal
courts.” United States v. Amodeo (“Amodeo II”), 71 F.3d 1044, 1049 (2d Cir. 1995). This
weight is balanced against countervailing interests favoring secrecy, such as “the
danger of impairing law enforcement or judicial efficiency” or “the privacy interests of
those resisting disclosure.” Id. at 1050. This Court’s decision as to access is to be
“exercised in light of the relevant facts and circumstances of the particular case.” Nixon
v. Warner Communications, Inc., 435 U.S. 589, 599 (1978).
    “In addition to the common law right of access, it is well established that the public
and the press have a ‘qualified First Amendment right to attend judicial proceedings
and to access certain judicial documents.’” Lugosch v. Pyramid Co. of Onondaga, 435 F.3d
110, 120 (2d Cir. 2006) (quoting Hartford Courant Co. v. Pellegrino, 380 F.3d 83, 91 (2d Cir.
2004)). The Court therefore assumes that a presumptive First Amendment right of
access applies to the documents at issue in this motion, with the exception of those
documents “placed in vault.” Documents subject to the presumptive right of access may
nevertheless be sealed if “specific, on the record findings are made demonstrating that
closure is essential to preserve higher values and is narrowly tailored to serve that
interest.” Lugosch, 435 F.3d at 120 (2d Cir. 2006) (quoting In re New York Times Co., 828
F.2d 110, 116 (2d Cir. 1987)) (internal quotation marks omitted).
   The Court addresses each document at issue in turn.
   1. The Menendez Memorandum
    In response to the Court’s order directing the parties to respond to the press
inquiries, the Government has proposed that the only redactions to this document be a
handful of references identifying individuals, by name or by title, who have provided
information to the Government.
     Keeping these names and titles sealed is entirely appropriate in light of the fact that
the information provided by those individuals was given as part of an ongoing
government investigation. As a court in this district has previously noted, “unmasking
those who are cooperating with the Government’s investigation or who have otherwise
provided information to the Government could deter further cooperation with the
investigation by ‘subject[ing] those individuals to witness tampering, harassment, or
retaliation.’” United States v. Cohen, 366 F. Supp. 3d 612, 623 (S.D.N.Y. 2019) (quoting In
re Sealed Search Warrants Issued June 4 & 5, 2008, No. 08-mc-208 (DRH), 2008 WL 5667021,
at *4 (N.D.N.Y. July 14, 2008)). Moreover, “the privacy interests of innocent third parties



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as well as those of defendants that may be harmed by disclosure . . . should weigh
heavily in a court’s balancing equation.” In re New York Times Co., 828 F.2d at 116.
    In regard to the qualified First Amendment right of access, the countervailing
factors of the privacy interests of innocent third parties and not deterring cooperation
with a criminal investigation clearly function as higher values that bear protection. See
E.E.O.C. v. Kelley Drye & Warren LLP, No. 10-cv-655 (LTS), 2012 WL 691545, at *2
(S.D.N.Y. Mar. 2, 2012).
   2. The Weitzman Declaration
   The Weitzman Declaration, which contains no substantive information, should be
unredacted in full and placed in the public record.
   3. Exhibit A to the Weitzman Declaration
    Exhibit A is a letter from the Government to Robert Menendez’s attorneys
disclosing information provided to the Government by potential witnesses. As the
Government concedes, the portions of Exhibit A that are specifically cited in the
Menendez Memorandum or that provide context for the Menendez Memorandum
should be placed in the public record.
   However, the summaries of statements potential witnesses provided to the
Government that are not cited with specificity in the memorandum should remain
under seal.
     The names and titles identifying potential witnesses as well as the summaries of the
statements themselves should remain redacted because they present information that
could impact both the confidentiality and the course of the ongoing criminal
investigation, in addition to affecting the privacy of potential witnesses in the upcoming
trial. Their unsealing would run the danger of enabling “individuals to coordinate or
tailor their testimony” or of “deter[ring] further cooperation with the investigation.”
Cohen, 366 F. Supp. 3d at 623. Preserving the integrity of the ongoing investigation and
the privacy of undisclosed individuals with information regarding the ongoing
investigation are emblematic of the types of higher values that ought to be preserved by
redaction. See E.E.O.C. v. Kelley Drye & Warren LLP, No. 10-cv-655 (LTS), 2012 WL
691545, at *2 (S.D.N.Y. Mar. 2, 2012).
     Exhibit A should be placed on the public record to the extent set forth above as
reflected in Attachment 2 to the Government’s letter dated January 22, 2024. (See ECF
No. 152.)
   4. Exhibit B to the Weitzman Declaration
   Exhibit B is a schedule of meetings held during July 2018. The only portions of
Exhibit B to be redacted are the names, addresses, and contact information of third


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parties other than members of Congress. These are not referenced with any specificity
in the memorandum of law, and thus play very little, if any, role in the Court’s
consideration of these proceedings. Moreover, the personally identifiable information of
third-party individuals represents a higher value privacy interest that favors secrecy in
the form of nondisclosure under both a common law and First Amendment analysis.
See id.; see also Amodeo II, 71 F.3d at 1050.
     Exhibit B should be placed on the public record to the extent set forth above as
reflected in Attachment 3 to the Government’s letter dated January 22, 2024. (See ECF
No. 152.)
   5. Materials “placed in vault”
     The materials “placed in vault” are ECF Nos. 103, 104, 107, 108, 109, 122, 123, and
124. These materials fall into three groups. Group One, materials related to Rule 41
search warrants, consists of ECF Nos. 103, 104, 108, and 122. Group Two, materials
related to the grand jury, consists of ECF Nos. 107, 109, and 123. Group Three, materials
related to Robert Menendez’s first motion to dismiss the indictment, consists of ECF No.
124.
   For the reasons to be set forth below, the materials contained in Groups One and
Two must remain sealed, while the materials contained in Group Three are to be
unsealed.
    a. Group One (ECF Nos. 103, 104, 108, and 122)
     Group One consists of materials related to Rule 41 search warrants in this ongoing
investigation. Although a common law right of public access attaches to search
warrants in the case of a closed investigation, see Application of Newsday, Inc., 895 F.2d
74, 79 (2d Cir. 1990), this is an ongoing criminal proceeding with a pending grand jury
investigation, and the common law right of public access to closed investigations is not
implicated in the case of pending grand jury investigations. Where investigations are
ongoing, there is a high value to sealing search warrants. See In re Search Warrant
Executed February 1, 1995, No. 18-mc-65 (RJW), 1995 WL 406276, at *3 (S.D.N.Y July 7,
1995); In re Searches of Semtex Indus. Corp., 876 F. Supp. 426, 429 (E.D.N.Y. 1995).
    In addition, courts in this circuit have frequently found that no First Amendment
right of access attaches to materials related to search warrants at this juncture, especially
given the fact that “[w]arrant application proceedings are highly secret in nature and
have historically been closed to the press and public.” United States v. All Funds on
Deposit at Wells Fargo Bank, 643 F. Supp. 2d 577, 583 (S.D.N.Y. 2009); see also In re Search
Warrant, No. 16-mc-464 (PKC), 2016 WL 7339113, at *3 (S.D.N.Y. Dec. 19, 2016); United
States v. Paloscio, No. 99-cr-1199 (LMM), 2002 WL 1585835, at *3 (S.D.N.Y. July 17, 2002).



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   The materials contained in Group One-ECF Nos. 103, 104, 108, and 122-are to
remain under seal.
    b. Group Two (ECF Nos. 107, 109, and 123)
    Group Two consists of materials related to ongoing grand jury proceedings. "The
traditional presumption in favor of public access to judicial proceedings does not
extend to grand jury proceedings," and the absence of this presumption "applies to
proceedings that are bound-up with the grand jury's functioning, including motions to
quash and related records." In re Grand Jury Subpoenas Dated March 2, 2015, No. 15-mc-
71 (VEC), 2016 WL 6126392, at *3 (S.D.N.Y. Oct. 19, 2016). Neither the common law nor
the First Amendment rights of access attach to materials closely intertwined with grand
jury proceedings. See id. at *2-5; see also Fed. R. Crim. P. 6(e).
    The documents in ECF Nos. 107, 109, and 123 concern matters "bound-up with the
grand jury's functioning." The proper course of action is to maintain them under seal.
    Thus, the Court determines that the materials contained in Group Two-ECF Nos.
107, 109, and 123-are to remain under seal.
    c. Group Three (ECF No. 124)
    Group Three consists of Robert Menendez' s request to file certain papers submitted
in connection with his First Motion to Dismiss under seal, along with this Court's
endorsed order granting that request.
    Given this Court's decision to unseal some of the materials that Menendez
originally filed under seal, along with the fact that none of the justifications given for
originally filing these materials under seal merit continued nondisclosure from the
public, there is no longer any reason for this document to be maintained under seal.
    Thus, the Court determines that ECF No. 124 should be unsealed and made
available to the public.
    The parties are directed to cooperate to ensure that the relevant documents are
placed on the public record as required by this order.


Dated: New York, New York
       February 1, 2024

                                           SO ORDERED:


                                            £ASidn      . Stein, U.S.D.J.


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